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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                        IN THE UNITED STATES DISTRICT COURT                      May 04, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                    Nathan Ochsner, Clerk
                                 GALVESTON DIVISION


ECHO WARE,                                     §
                                               §
                        Plaintiff,             §
                                               §
v.                                             §          CIVIL ACTION NO. 21-00067
                                               §
AUTOZONERS, LLC,                               §
                                               §
                        Defendant.             §


                            MEMORANDUM OPINION AND ORDER


        Plaintiff,       Echo Ware         ("Ware" or "Plaintiff") brings this

action        against     defendant        AutoZoners,     LLC    ("AutoZoners")        for

employment discrimination in violation of Title VII of the Civil

Rights Act of 1964 ("Title VII"), as amended, 42 U.S.C. 2000e, et

�, and for retaliation in violation of the Fair Labor Standards

Act ("FLSA"), 29 U.S.C. § 215(a)(3).                  Pending before the court is

Plaintiff's         Rule        21   Motion    to    Add     Party   Autozone,        Inc.

("Plaintiff's Motion to Add Party") (Docket Entry No. 31). For the

reasons explained below that motion will be denied.


                                      I.    Background

        On January 8, 2021, Ware filed Plaintiff's Original Complaint

asserting claims of sex discrimination in violation of Title VII,

and    retaliation         in    violation     of   the    FLSA   against   Defendants

Autozone, Inc. and Autozoners, LLC.1


        1
            Plaintiff's Original Complaint, Docket Entry No. 1, pp. 1 and
                                                          (continued... )
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        On April 6, 2021, the court entered a Docket Control Order

(Docket Entry No. 9).         In pertinent part the Docket Control Order

provides that (1) motions to amend the pleadings and to add new

parties must be filed by June 4,                2021;    (2) discovery must be

completed by November 19, 2021;            (3) mediation must be conducted;

and (4) dispositive motions must be filed within 30 days after the

mediator or magistrate judge declares an impasse. 2

        On July 12, 2021, AutoZoners provided Ware's counsel with a

declaration from its Director of Income Tax,                Patrick B. Johnson

("Johnson"), stating in pertinent part that (1) Autozoners, LLC

provides personnel management and employment services to Autozone

retail store locations;            (2) Autozoners,      LLC employs the retail

store personnel who support and perform services for those stores;

(3)     Autozoners,     LLC   is   the   entity   that    employed   Ware,   and,

accordingly,       is the only proper defendant in this action;               and

(4) AutoZone, Inc., is a publicly owned corporation formed under

the laws of Nevada, which has no employees and maintains no control

over any Autozoners, LLC personnel.3


        1 ( •••continued)
4-5. All page numbers for docket entries in the record refer to
the pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
        2
            Docket Control Order, Docket Entry No. 9, pp. 1-2.
      See AutoZoners, LLC's Opposition to Plaintiff's Rule 21
        3

Motion to Add Party Autozone, Inc. ("AutoZoners' Opposition to
Plaintiff's Motion to Add Party"), Docket Entry No. 43, p. 2
                                                 (continued...)
                                         -2 -
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     On July 26, 2021, the parties filed a Joint Motion to Dismiss

Ware's claims against Autozone,           Inc. without prejudice (Docket

Entry No. 10), which the court granted the same day (Docket Entry

No. 11).

     On September 13, 2021, Ware's counsel propounded Rule 30(b) (6)

topics identifying as Topic 4 "[t]he relationship between Autozone,

Inc. and   Autozoners,    LLC." 4    On    October 1,   2021,   AutoZoners

objected to Topic 4 by stating that

     AutoZone objects to this Topic as compound and
     duplicative to the Declaration of Patrick Johnson,
     AutoZoners, LLC's Director of Income Tax. After numerous
     discussions between undersigned counsel and Plaintiff's
     counsel, AutoZone provided Plaintiff with Mr. Johnson's
     declaration on July 12, 2021. Mr. Johnson's declaration
     explains the relationship between AutoZone, Inc. and
     AutoZoners, LLC, and was the impetus for the dismissal of
     AutoZone, Inc. from this lawsuit.       Further, because
     AutoZone, Inc. is no longer a party to this lawsuit, this
     Topic is unduly burdensome, overbroad, and seeking
     irrelevant information in a manner not proportional to
     the needs of the case. In lieu of presenting a corporate
     representative for this Topic, Autozone refers plaintiff
     to Mr. Johnson's declaration and adopts that declaration
     for its response to this Topic.     AutoZone will not be
     presenting a corporate representative for this Topic on
     the noticed date. 5

     3( ••• continued)
(citing Email Exchange, Exhibit 1, Docket Entry No. 43-1, pp. 2-3;
and Declaration of Patrick B. Johnson ("Johnson Declaration"),
Exhibit 2, Docket Entry No. 43-2, pp. 1-2 �� 3, 5-8, 10-11).
     4
      Plaintiff's Amended Notice of Intention to Take the Oral
Deposition of AutoZoners, LLC, Exhibit 3 to AutoZoners' Opposition
to Plaintiff's Motion to Add Party, Docket Entry No. 43-3, p. 3
� 4.
     5
      AutoZoners' Opposition to Plaintiff's Motion to Add Party,
Docket Entry No. 43, p. 3 (quoting Defendant's Designations for and
                                                     (continued... )

                                    -3-
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AutoZoners designated its Regional Manager, Laura Berry ("Berry")

as its Corporate Representative regarding the decision to discharge

Ware, the investigation into Ware's actions, and its fact-based

affirmative defenses (Topics 6, 8, and 9).6

        On October 13, 2021, Ware's counsel deposed AutoZoners'

Regional Manager, Berry, who testified that she was not prepared to

testify about the relationship between AutoZoners and AutoZone,

Inc., 7 but when pressed to answer questions about that relationship

over objections, stated she "would assume they're the same thing,

but     I don't know that. "8        When asked about the decision to

discharge Ware, Berry testified that "we terminated her on February

1st," and when asked what she meant by "we," she responded that

"AutoZone,      Incorporated terminated her employment on             February

1st. " 9



      ( •••continued)
        5

Objections to the Deposition Topics Identified in Plaintiff's
Amended Notice of Intention to Take Oral Deposition of Autozoners,
LLC ("Defendant's Designations and Objections"), Exhibit 4, Docket
Entry No. 43-4, p. 3).

      Defendant's Designations and Objections, Exhibit 4 to
        6

AutoZoners' Opposition to Plaintiff's Motion to Add Party, Docket
Entry No. 43-4, pp. 4-5.
      Deposition Transcript, pp. 36:22-37:4, Exhibit 5 to
        7

AutoZoners' Opposition to Plaintiff's Motion to Add Party, Docket
Entry No. 43-5, p. 4.
      Id. at 37:5-10. See also See also Exhibit 1 to Plaintiff's
        8

Response in Opposition to Defendant AutoZoners, LLC's Motion for
Summary Judgment, Docket Entry No. 24-1, pp. 38-39.
      Deposition Transcript, p. 41:18-23, Exhibit 1 to Plaintiff's
        9

Response in Opposition to Defendant AutoZoners, LLC's Motion for
Summary Judgment, Docket Entry No. 24-1, p. 43.
                                       -4-
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         On November 19, 2021, AutoZoners moved for summary judgment on

all of Ware's claims (Docket Entry No. 14).
         On December 31, 2021, Ware filed Plaintiff's Motion to Add
Party         (Docket Entry No. 31),      to which AutoZoners has filed a
response in opposition (Docket Entry No. 43), and Ware has replied
(Docket Entry No. 44).



                                    II.   Analysis

         Ware moves to add Autozone, Inc. as a defendant pursuant to
Federal Rule of Civil Procedure 21.10 Alternatively, Ware moves for
leave to file an amended complaint under Federal Rule of Civil
Procedure 15 to add Autozone, Inc. as a defendant.11               AutoZoners
opposes Plaintiff's Motion to Add Party Autozone, Inc., arguing
that Ware has failed to show good cause or that adding Autozone,
Inc. at this late date will not prejudice AutoZoners.12                  Ware
replies that AutoZoners cannot deny the testimony of its corporate
representative,           Berry,   that AutoZone,    Inc.   terminated Ware's
employment, that AutoZoners' allegation of prejudice is without
merit, and that AutoZoners' abuse of the discovery process should
not be rewarded. 13


         10
              Plaintiff's Motion to Add Party, Docket Entry No. 31, pp. 1-2
'iI 3.
         11
              Id. at 3 'iI 11.
      AutoZoners' Opposition to Plaintiff's Motion to Add Party,
         12

Docket Entry No. 43, p. 1.
         13
              Plaintiff's Reply in Support of Rule 21 Motion to Add Party,
                                                            (continued...)
                                          -5-
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A.      Applicable Law

        Ware's motion to add a defendant or, alternatively, to amend

her complaint implicates both Rule 15(a) and Rule 21 of the Federal

Rules of Civil Procedure.         Rule 15(a) allows a party to amend its

pleading once as a matter of course within twenty-one days after a

responsive pleading is served or "with the opposing party's written

consent or the court's leave."         Fed. R. Civ. P. 15(a)(2).       Rule 21

provides that a court "may at any time, on just terms, add or drop

a party."      Fed. R. Civ. P. 21.     When a plaintiff seeks the court's

permission to amend a complaint or to add a party, Rule 15 and Rule

21 trigger the same standard of review.              See Vera v. Bush, 980

F.Supp. 254, 255 (S.D. Tex. 1997) ("[T]he same standard applies for

adding new parties under either Rule 15(a) or Rule 21."). See also

Martinez v. United States Postal Service, Civil Action No. B-06-

186, 2007 WL 1468773, *l (S.D. Tex. May 18, 2007) ("The standard

that is applied to an amendment that seeks to add new parties is

the same under either Rule 15(a) or Rule 21.").

        If a scheduling order has been entered establishing a deadline

for amendments to pleadings, Rule 15(a) provides the standard for

requests to amend that are filed before the scheduling order's

deadline has expired, and Federal Rule of Civil Procedure 16(b)

provides the standard for requests to amend that are filed after

the    scheduling     order's   deadline     has   expired.     See   Marathon


      ( •••continued)
        13

AutoZone, Inc. ("Plaintiff's Reply"), Docket Entry No. 44.
                                       -6-
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Financial Insurance, Inc., v. Ford Motor Co., 591 F.3d 458, 470

(5th Cir. 2009).        Because a scheduling order has been entered in

this case, and because Ware filed the pending motion to amend on

December 31, 2021, over six months after the scheduling order's

deadlines for filing motions to amend or to add new parties expired

on June 4, 2021, Rule 16(b) governs Ware's motion. 14

        "Rule 16(b) provides that once a scheduling order has been

entered, it      'may be modified only for good cause and with the

judge's consent.'" Marathon, 591 F.3d at 470 (quoting Fed. R. Civ.

P. 16(b)(4)). "The good cause standard requires the 'party seeking

relief to show that the deadlines cannot reasonably be met despite

the     diligence    of   the    party     needing   the   extension.'"       S&W

Enterprises, L.L.C. v. SouthTrust Bank of Alabama, NA, 315 F.3d

533, 535 (5th Cir. 2003)(quoting 6A Charles Alan Wright, et al.,

Federal      Practice and    Procedure § 1522.1 (2d ed. 1990)).               To

determine whether the moving party has established good cause,

courts consider four factors:         "(l) the explanation for the failure

to timely move for leave to amend;             (2) the importance of the

amendment; (3) potential prejudice in allowing the amendment; and

(4) the availability of a continuance to cure such prejudice."

Marathon, 591 F.3d at 470 (quoting Southwestern Bell Telephone Co.

v. City of El Paso, 346 F.3d 541, 546 (5th Cir. 2003) (citing S&W

Enterprises, 315 F.3d at 536)).          If a movant establishes good cause


      See Docket Control Order, Docket Entry No. 9, filed on April
        14

6, 2021.

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to extend the scheduling order, courts analyze the motion to amend

under Rule 15(a), which provides that "[t]he court should freely

give leave when justice so requires."             Fed. R. Civ. P. 15(a).      See

S&W     Enterprises,    315    F.3d   at   536.     See   also   Victory   Lane

Motorsports, LLC v. Wide-Open Sports Marketing, Inc., Civil Action

No. H-20-2006, 2020 WL 7484769, *2 (S.D. Tex. December 18, 2020)

(observing that "[w]hen a party seeks to join additional parties,

courts consider the relevant joinder rules," and applying the Rule

16 "good cause" standard to a motion seeking to add third-party

defendants after deadlines set in the applicable scheduling order

had expired).

        "Rulings on the joinder of parties are reviewed for abuse of

discretion."       Acevedo v. Allsup' s Convenience Stores, Inc., 600

F.3d 516, 520 (5th Cir. 2010) (per curiam).            See Williams v. Hoyt,

556 F.2d 1336, 1341 (5th Cir. 1977), cert. denied, 98 S. Ct. 1530

(1978) ("The district court has broad discretion in determining the

propriety of joining              a particular party as a defendant.").



B.      Application of Law to the Parties' Arguments

        1.   Ware Has No Reasonable Explanation for Delay

       Ware moves to amend her pleadings to reinstate AutoZone, Inc.

as a party defendant because AutoZoners' Regional Manager, Laura

Berry, testified at her October 13, 2021, deposition that "we

terminated her on February 1st," and when asked what she meant by

"we     terminated     her,"   she    responded     "Autozone,   Incorporated

                                       -8-
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terminated her employment February 1st. " 15                   Ci ting statements made

in AutoZoners' Motion for Summary Judgment describing AutoZone as
"the        largest           retailer   of   aftermarket     automotive   parts      and

accessories in the United States," with "6,602 retail locations
spread throughout the fifty states, Washington, D.C., Puerto Rico,
and the Virgin Islands," and asserting that the employee handbook
proffered as summary judgment evidence belongs to AutoZone, Inc., 16
Ware        argues        that    "[b]ased    on     the   evidence   admitted   to   by
Autozoners, LLC, the Court in fairness should add Autozone, Inc.
back in as a party after it was dismissed without prejudice based
on representations by Defendants' counsel with no room for follow­
up at the Rule 30 (b) (6) deposition." 17
       Asserting that Ware's motion is dilatory and based on a
distortion of the facts, 18 AutoZoners argues that "[i]f Plaintiff
had raised this issue in a timely manner, the issue could have been
resolved before the close of discovery and the dispositive motion
deadline.               Plaintiff's untimeliness demonstrates a lack of good
cause." 19



       See Plaintiff's Motion to Add Party, Docket Entry No. 31,
       15

p. 2 <JI 7 (quoting Deposition Testimony, p. 41: 18-23, Exhibit 1,
Docket Entry No. 24-1, p. 43).
      Id. at 3 <JI 9 (quoting Defendant AutoZoners, LLC's Motion for
       16

Summary Judgment, Docket Entry No. 14, p. 10).
       17
            Id.   <JI   10.
      AutoZoner's Opposition to Plaintiff's Motion to Add Party,
       18

Docket Entry No. 43, p. 6.


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     Ware has neither argued nor cited any evidence from which the

court could     conclude    that   when    the    joint   motion   to   dismiss

AutoZone, Inc. was filed in July of 2021 she did not know that

AutoZone, Inc.    characterizes itself as the largest retailer of

aftermarket automotive parts and accessories in the United States

with over 6,000 retail locations, or that the employee handbook she

received belonged AutoZone, Inc.       Nor has Ware cited any reason for

why, after deposing Berry on October 13, 2021, she waited until

December 31, 2021, to file the pending motion, approximately a

month and a half after the date discovery closed and AutoZoners

filed its motion for summary judgment on November 19, 2021, and

over a month after she filed her own motion for partial summary

judgment on November 21, 2021.        Because Ware has not offered any

explanation for waiting to seek leave to add AutoZone, Inc. until

after discovery had closed and motions for summary judgment had

been filed, this factor weighs in favor of denying her motion.



     2.      Ware Has Failed to Show that Joinder Is Important

     Asserting     that    the   addition    of    AutoZone,   Inc.     has   no

significance, AutoZoners argues that Ware's claims against it are

still active and, if successful, will provide her a full and

complete recovery. 20 Ware has neither argued nor cited any evidence

from which the court could conclude that the proposed addition of


     20Id.



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AutoZone, Inc. as a defendant is important, or that she will be
unjustly prejudiced if her motion is denied. Ware only seeks leave
to add AutoZone, Inc., a defendant that she named in her Original
Complaint but moved to dismiss in July of 2021, before she had
noticed a Rule 30 (b) (6)            deposition.      Ware does not allege new
conduct, new causes of action, or new theories of recovery.                    Nor
does Ware argue that the absence of AutonZone, Inc. from this
action would prevent her from obtaining all the relief she seeks.
Accordingly, the importance factor weighs in favor of denying
Ware's motion.


        3.           Prejudice to AutoZoners Cannot Be Cured by a Continuance
     Asserting that             "[t]he question of whether         a parent and
subsidiary are a single employer under Title VII is a distinct
legal inquiry," 21 AutoZoners argues that the addition of AutoZone,
Inc. would severely prejudice it because after AutoZone, Inc. was
dismissed, the parties did not conduct discovery on the issue and

AutoZoners, LLC did not move fo.r summary judgment on the single
employer issue because it was unnecessary.22 AutoZoners argues that
"[i]f        Plaintiff       were   granted   leave   to   add   AutoZone,   Inc.,
additional discovery would be needed on the single employer issue




     21
          1..l;;L_

     22
          Id. at 8.
                                          -11-
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and the defendants would need to file a supplemental motion for
summary judgment to dismiss the claims against AutoZone, Inc. " 23
     Ware responds by asserting that AutoZoners' allegation of

prejudice is without merit, and by asking:
     First, what could Autozone possibly seek to gain from the
     Plaintiff through additional discovery? Would Autozone
     depose the Plaintiff again to ask her why Autozone, Inc.
     fired her?
          Second, why would Autozone file another dilatory
     motion for summary judgment when there are already so
     many disputes of material fact that can be spotted from
     a mile away? 24
Missing from Ware's reply is any statement regarding her own need
for additional discovery should the court grant her motion to add
AutoZone, Inc. as a defendant, or Autozone, Inc.'s need to file a
dispositive motion.
     This action has been pending for over a year.          The deadlines
for filing amended pleadings and adding new parties was June 4,

2021, the deadline for the completion of discovery was November 19,
2021, and the deadline for filing dispositive motions was 30 days
after the mediator or the magistrate judge declared an impasse.
AutoZoners filed a motion for summary judgment on November 19,
2021, and Ware filed a motion for partial summary judgment on
November 21, 2021.      Allowing the proposed addition of AutoZone,
Inc. would not only require the court to abandon established


     23
          .IJ;L_

     24
          Plaintiff's Reply, Docket Entry No. 44, p. 3.
                                   -12-
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deadlines in this case, but would also prejudice AutoZoners and

needlessly consume scarce judicial resources by requiring not just

new pleadings, but also a new scheduling order, new discovery, and

a new round of motions for summary judgment, all of which will

delay the resolution of the case.         The court thus concludes that

the prejudice to defendant AutoZoners in allowing the addition of

AutoZone, Inc., and the amendments to the scheduling order that it

would require, cannot be cured by a continuance.         Accordingly, the

third and fourth factors regarding prejudice and whether any

prejudice could be cured by a continuance weigh in favor of denying

Ware's motion.   See Hicks-Fields v. Harris County, Texas, 860 F.3d

803,   807 and 812    (5th Cir.),     cert. denied,     138   S.   Ct. 510

(2017)(affirming district court's denial of plaintiff's motion for

leave to amend because discovery had concluded and the dispositive

motion deadline had passed).



       4.   Conclusions

       For the reasons stated above, the court concludes that Ware

has failed to establish good cause as required by Rule 16(b)(4) to

amend her pleadings to add Autozone, Inc. as a defendant after the

deadlines for adding parties and amending pleadings set in the

court's scheduling order expired.         � Fed. R. Civ. P. 16(b)(4).




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                     III.    Conclusions and Order

     For the reasons explained in§ II, above, Plaintiff's Rule 21
Motion to Add Party Autozone, Inc., Docket Entry No. 31, is DENIED.

     SIGNED at Houston, Texas, on this 4th day of May, 2022.




                                          SIM LAKE
                            SENIOR UNITED STATES DISTRICT JUDGE




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